Case 1:04-cr-10029-GAO Document 498 Filed 05/22/15 Page 1 of 9

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v. ) CRIMH\IAL No. 04-10029&40.'_ ;
DANIEL E. CARPENTER )
)
REPLY IN SUPPoRT oF

MOTION TO DISMISS INDICTMENT
FOR LACK OF JURISDICTION
PURSUANT TO RULE 12(b)(3)(B)

What can only be described as yet another example of the extreme prosecutorial
vindictiveness that l have had to face in my 15 year long legal odyssey, the government contends
that only three things preclude this Honorable Court from ruling in my favor to dismiss the faulty
and defective Indictment in my case that does not even plead fraud with the particularity required
in a civil case, much less rise to the necessary standard required to establish jurisdiction for a
"federal" fraud crime:

l. An earlier ruling by this Court before the first trial;
2. A recent amendment to Rule l2(b)',
3. United States v. Cotl'on, 535 U.S. 625 (2002), a drug case from 2002.

l will deal with each of these in seriatim for the Court's benefit so that Your Honor can
seejust how specious these arguments by the government are, and Your Honor can add this
filing by the government to the long list of examples of actual prosecutorial vindictiveness that l
provided the Court with in my recently filed 2255 Petition.

lt is nothing short of outrageous that the government would submit that a ruling from

2004, prior to the first trial in which I was granted a new trial order for egregious prosecutorial

misconduct that was affirmed by the First Circuit, should preclude me from bringing a Rule

Case 1:04-cr-10029-GAO Document 498 Filed 05/22/15 Page 2 of 9

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12(b)(3)(B) motion now after l had a second trial that was negated by a second new trial order
and subsequent appeals. Had 1 not received the second New Trial Order for egregious
prosecutorial misconduct in 201 l, the appeals that followed certainly would have been much
different had 1 been convicted and sentenced in 2008 or in 2011. The government cannot
possibly argue that a simple rule change in 12(b) in December of 2014 would have precluded me
from bringing a Rule 12(b)(3)(B) action during the period of 2008 - 2013 when the First Circuit
overturned my second New Trial Order. How is it possible that a simple ruling by this Court on a
different issue in 2004 before my two trials becomes the "law of the case" but a Federal Rule of
Criminal Procedure (Fed. R. Crim. P.) in effect from 2002 when the former 12(b)(2) became the
new Rule 12(b)(3)(B) until the time of my sentencing in February of 2014 which was the “law"
of the land for all cases, is somehow not the law of my case when l was clearly indicted, tried,
and sentenced under Rule 12(b)(3)(B) as it existed up to December oflast year? This simply
cannot be the case. In fact, rock solid First Circuit precedent totally nullifies the government’s
entire argument And Your Honor should let them know that it no uncertain terms.

ln the First Circuit's landmark decision of United Sl'ates v. Rosa-Ortiz, 348 F.3d 33 (lst
Cir. 2003), Rosa-Ortiz actually pleaded guilty, there was no trial or new trial order, simply Rosa-
Ortiz's challenge to the jurisdiction ofthe federal court because his indictment, just like mine
failed to state a "federal" offense. As Your Honor knows better than anyone, the lndictment in
my case has many defects, not the least of which is that it merely states at the most a "breach of
contract" claim and it does not even do that well, and certainly not with the particularity (who,
what, where, when and how) required under F.R.C.P. Rule 9(b). The Indictment claimed that l
made knowingly false "oral and written" misrepresentations At this late date, the government

has failed to show even a single false statement - written or oral - made by me and has instead

 

Case 1:04-cr-10029-GAO Document 498 Filed 05/22/15 Page 3 of 9

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tried me and appealed on the basis of an "omissions" case without first showing that l had a duty
to disclose. In fact, the words "omission", "duty", fiduciary", "prospectus", or even "legally
required" are nowhere to be found in my Indictment, but it is my "silence" and "lack of
disclosure" that I was tried on twice. The Court can read more details along this line in my
recently filed 2255 Petition.

In Rosa-Ortiz's case, unlike mine, because of his guilty plea the government said he had
waived all of his rights. But, in oral argument the First Circuit made the government agree that
Rosa-Ortiz did not and could not waive his right to challenge thejurisdiction of the federal court.
In fact, the case the government cited for its proposition, Unz`ted States v. Lujan, 324 F. 3d 27
(1st Cir. 2003) specifically states that a guilty plea waives all non-jurisdictional challenges to a
criminal conviction. See Lujan at 30 (emphasis added). The government was forced to concede
in oral argument that a guilty plea does not preclude a defendant from arguing on appeal that the
conduct charged in the indictment does not amount to a federal offense.

As this Court knows, there was no guilty plea in my case and the government blames me
for the inexplicable delay between my trial in 2008 and the New Trial Order of 201 1 because of
all of the filings that were done showing the perjury of not only the Mcrrill Lynch witnesses, but
also the perjury of the Exchangors themselves Be that as it may, if the government wants to
portray an innocent man fighting for his life and his freedom as a "serial litigator"; that is fine
with me. Your Honor and l both know that all of the broker witnesses committed perjury, Paley
committed perjury, and even the Exchangors witnesses committed perjury - amazing that after
two trials l\/larjorie Adams still cannot find the records of the phone call she allegedly made to
me. Suffice it to say, the government has not only not done itsjob in terms of Berger v. Uniz‘ed

States, 295 U.S. 78, 88 (1935), that prosecutors “must always be faithful to [the] overriding

 

Case 1:04-cr-10029-GAO Document 498 Filed 05/22/15 Page 4 of 9

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interest that ‘justice shall be done,”’ and “the ‘twofold aim”’ of the law, which is that “guilt shall
not escape nor innocence suffer.”’ - it has totally not lived up to its obligations under Braa’y-
Giglz'O-Bagley, and most of all Napue. Because Your Honor can read my 2255 Petition and
because Your Honor knows that the government knows that it not only suborned perjury in my
case, it actually welcomed and coached the perjury in my case. "Levine lied and the government
knew it", (Emphasis in original), Your Honor should have no problem dismiss the Indictment in
my case.

So ifthe guilty plea in Rosa-Ortiz did not nullify "his rights" to challenge his
"conviction" on appeal or at any time the case is pending, then there is no way that a ruling by
this Court in 2004 or an administrative rule change in December of 2014 after I was sentenced
can possibly affect my rights to challenge this Couit's jurisdiction based on the manifest defects
in the Indictment pursuant to Rule l2(b)(3)(B). The government arguments to the contrary are
not just misplaced but are just more actual examples of malicious prosecutorial vindictiveness
against me.

That leavesjust the government's case of Unitea’ States v. Cotton, 535 U.S. 625 (2002),
which certainly does not make the government's case, but it should make my case for
prosecutorial vindictiveness and Your Honor should start the favorable opinion granting my
Motion to Dismiss the Indictment pursuant to 12(b)(3)(B) with the words, " Unitea’ States v.
Cotton” is not applicable to this case and the government knew it. Not only is Cotton totally
inapplicable to the facts and circumstances of my Indictment, it is a "drug" case where the
Supreme Court overturned the vacating of several drug dealers' convictions by the Fourth Circuit

because the indictment in their case failed to allege the threshold quantity of cocaine that they

Case 1:04-cr-10029-GAO Document 498 Filed 05/22/15 Page 5 of 9

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were dealing. The fact that Cotton overruled Ex Parte Baz'n, 121 U.S. 1 (1887), is of even less
importance to my case based on the modern rules of criminal procedure.
ln 2012 the Second Circuit used Rule 12(b)(3)(B) to overturn the famous conviction of
Sergei Aleynikov, who like me went to trial, was found guilty and had his guilty verdict
overturned by the Second Circuit pursuant to Rule 12(b)(3)(B) and the lack ofjurisdiction
established by his indictment, and unfortunately like me is also enduring his own legal odyssey.
But the Second Circuit's decision in Aleynz`kov is based largely on the First Circuit's decision in
Rosa-Ortiz, which is primarily based on the Eleventh Circuit's decision in Unitea’ States v. Peter,
310 F.3d 709, 713 (11th Cir. 2002), which came after COtl'On and spends a great deal oftime
explaining why the ruling in Cotton has nothing at all to do with the facts of my case. ln fact, the
ruling by the Eleventh Circuit in Peter is directly on point to my Rule 12(b)(3)(B) claim because
it involves a mail fraud claim and once again - unlike me - Peter pled guilty.:
"... it is clear under these circumstances that the Government‘S proof of the alleged
conduct, no matter how overwhelming, would have brought it no closer to showing the
crime charged than would have no proof at all. The problem is not that the Government's
case left unanswered a question as to whether its evidence would encompass a particular
fact or element. Rather, it is that the Government affirmatively alleged a specific course
of conduct that is outside the reach of the mail fraud statute. Peter's innocence of the
charged offense appears from the very allegations made in the superseding information,
not from the omission of an allegation requisite to liability. In this circumstance, the rule
of l\/Ieacham, that a district court lacks jurisdiction when an indictment alleges only a
non-offense, controls. The district court had nojurisdiction to accept a plea to conduct
that does not constitute mail fraud, and the doctrine of procedural default therefore does
not bar Peter's present challenge."
lt is significant that Peter, Rosa-Ortiz, and Aleynl`kov, are all decided after C0tt0n, and
Peter does an excellentjob in explaining why the government's response is incorrect in all

respects and why my Indictment should be dismissed just as was done in Peter. ln fact, the

Elcventh Circuit in Peter states the judgment, sentencing, and conviction by a court without

 

Case 1:04-cr-10029-GAO Document 498 Filed 05/22/15 Page 6 of 9
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jurisdiction is null and void citing the Supreme Court's decision in United States v. Morgan, 346
U.S. 502 (1954). As the Eleventh Circuit stated in Peter:

"When a court withoutjurisdiction convicts and sentences a defendant the conviction and

sentence are void from their inception and remain void long after a defendant has fully

suffered their direct force." Id. at 715.

This pronouncement by the Eleventh Circuit is taken directly from Morgan, a case involving a
Writ of Coram Nobis where someone challenged thejurisdiction ofthe court even after having
served his sentence. The Supreme Court in Morgan went on to say that the law recognizes that
there must be a vehicle to correct errors “of the most fundamental character, that is, such as
rendered the proceeding itself irregular and invalid." Morgan at 509, quoting United States v.
Mayer, 235 U.S. 55, 69 (1914).

The type of claim that exists in my case has been historically recognized as the most
"fundamental" of all fundamental errors and that is what is referred to as "jurisdictional error." ln
fact, my recently filed 2255 Petition is an example ofa motion based on challenging the
fundamental error knows as "jurisdictional" error. A Writ of Habeas Corpus "has long been
available to attack convictions and sentences entered by a court without jurisdiction." United
States v. Addonizz`o, 442 U.S. 178, 185 (1975). Such "jurisdictional" errors can never be waived
and ifa court lacksjurisdiction the case must be dismissed. See Louisville & Noshville Railroad
v. Motley, 21 1 U.S. 149, 152 (1908) (ordering case dismissed for lack ofjurisdiction despite
absence of objection from either party).

The court in Peter based its decision largely on an old Fifth Circuit case Unz`ted States v.
Meacham, 626 F,2d 503 (5th Cir. 1980) that a federal court is withoutjurisdiction to accept even
a guilty plea for a "non-offense" or when the indictment, like in my case, fails to state a federal

offense. ln Meacham, the old Fifth Circuit reversed the convictions of five defendants who had

Case 1:04-cr-10029-GAO Document 498 Filed 05/22/15 Page 7 of 9

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been charged with the "non-offense" of "conspiring to attempt" to import marijuana with the
intent to distribute it. The court in Meacharn concluded that Congress had not passed the laws the
government relied on to create the "conceptually bizarre crime of conspiring to attempt." So even
in Meacharn, his guilty plea did not act as a waiver ofthe jurisdictional defects in his
indictment's failure to charge a federal offense. See Meacharn at 510.

Therefore, since Meacharn, Peter and Rosa-Ortiz were "guilty plea" cases where they
preserved the right to challenge the jurisdiction of the court and the indictment against them after
pleading guilty, conviction, and sentence, and since Peter, and the First Circuit's decision in
Rosa-Ortiz which is based largely on Peter, clearly discusses and distinguishes Cotton and why
it is not applicable, Your Honor should have no problem dispensing with the government's three
inapposite objections and go right to the merits of my 12(b)(3)(B) Motion to Dismiss the
defective indictment of my case.

l\/Ioreover, the court's analysis in a recent decision by the D.C. Circuit decided after the
relatively minor changes in Rule 12(b)(3)(B) in December 2014 completely destroys any
credibility that the government's arguments might have as it applies to my case. See Unitea’
States v. Miranda, No. 13-3032 (D.C. Cir. March 20, 2015). ln Mz`randa, the D.C. Circuit
eventually ruled against the operators ofa drug smuggling ship outside of United States waters,
but clearly makes the point that the analysis of the jurisdictional reach of a federal court cannot
be waived and is of fundamental importance A challenge to the district court's subject-matter
jurisdiction to the court's power to hear a given case can never be waived or forfeited. See
Arbaugh v. Y&H Corp., 546 U.S. 500, 514 (2006). Certain constitutional challenges asserting a
"right not to be haled into court at all" cannot be waived even through a guilty plea. Blacklea’ge

v. Perry, 417 U.S. 21, 31 (1974). The essence of the Miranda decision focuses on the defendant's

Case 1:04-cr-10029-GAO Document 498 Filed 05/22/15 Page 8 of 9

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right to challenge under Rule 12(b)(3)(B) the right ofthe state or the prosecutor frorn "haling a
defendant into court on a charge" (citing Perry), and stating that federal law requires that a
conviction to be set aside even ifthe conviction was entered pursuant to a counseled plea of
guilty." Perry at 30.

Similarly, the Supreme Court found in Menna v. New York, 423 U.S. 61 (1975), that the
Double Jeopardy clause precluded the state from "haling him (the accused) into court" despite
the fact that he pleaded guilty to the indictment and was sentenced. There has been no change to
Rule 12(b)(3)(B) that would preclude me from challenging the jurisdiction ofthis Court based on
challenging the ability ofthe state ofthe prosecutors from "haling a defendant into court on a
charge." After all, it is the prosecution that does the "haling into court," not Your Honor. Cotton
has not changed anything and RoSa-Ortiz and Peter, the case it was based on, were both
subsequent to Cotton as were Aleynikov and Miranda.

Since l completed 1 19 out of 126 property exchanges, and settled with Darling and
Fitzgerald even before the civil trials began, there is certainly no scheme to defraud in this case.
And ifthere was a "scheme to defraud," l did not create it or participate in it. At no time did l

make any material and knowingly false written or oral misrepresentation Please ask the

 

government to identify what the false statement was, because the word "half-truth" in nowhere to
be found in the lndictment. Similarly, the Exchangors were all paid back. They made 850
Million on an investment of only $8 Million. So cheating them out of their "money" or
"property rights" never happened. And since all of the wires and mailings were "caused" by
other people, like the Exchangors' attorneys, after they had agreed with Paley to use BPETCO,

none of the wires or mailings were in furtherance of the non-existent scheme to defraud. And

Case 1:04-cr-10029-GAO Document 498 Filed 05/22/15 Page 9 of 9
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even the Court recognized that 1 did not have the requisite "scienter" or "rnens rea" to commit a
crime of fraud. "He always intended to pay the money back."
Therefore, because the Indictment fails to plead the necessary facts in the detail necessary
to make out a case of federal mail and wire fraud, this Honorable Court lacked jurisdiction under

Rule 12(b)(3)(B) and the Indictment should be dismissed and my conviction vacated.

Respectfully Submitted,

/s/ Daniel E. Carpenter
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